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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



WILSON CREEK ENERGY, LLC,                            Case No. 3:23-cv-00697
Plaintiff

v.

FREDERICK N. CUSHMORE, JR. and FTC
PARTNERS, INC.
Defendants

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                                APPEARANCE OF COUNSEL


               NOTICE is hereby given that Natalie R. Kanerva, Trial Attorney, Fraud

Section, Criminal Division, United States Department of Justice, is counsel of record for the

United States (proposed intervenor) in the above civil action.

                                                    Respectfully submitted,

                                                    GLENN LEON
                                                    CHIEF, FRAUD SECTION
                                                    CRIMINAL DIVISION
                                                    U.S. DEPARTMENT OF JUSTICE

                                                    /s/ Natalie R. Kanerva
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